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From:             Anderson, Heidi (ATG)
To:               Justin Walsh; James Ware
Cc:               Nicole Rash; Fickes, Aaron (ATG); Hyde, Bob (ATG); Brysacz, Ben (ATG); Hall, Michael K. (ATG)
Subject:          State v. LTA
Date:             Tuesday, July 9, 2024 5:27:06 PM




Hi Justin and James—

Thanks for chatting with me this afternoon regarding our options moving forward re:
scheduled depositions and the case schedule. I look forward to hearing from you tomorrow
after you have had a chance to speak with your client.

One thing I forgot to mention during our call—we learned late yesterday that Greg Bosch’s
counsel did not provide you with a copy of the documents produced in response to our
subpoena duces tecum. We are in the process of Bates numbering those documents today
and anticipate sending copies to you tomorrow via a file share. We received additional
responsive documents from Mr. Bosch last night, which we will also produce to you as soon as
they are processed by our vendor.

Have a nice evening.

Kind regards,

H.

Heidi C. Anderson

Assistant Attorney General

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